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              6                                    UNITED STATES DISTRICT COORT                                                         .. :: _:ry

              7                               SOUTHERN DISTRICT OF tALIFORNIA

              8                                      January 2019 Grand Jury

              9
                  UNITED STATES OF AMERICA,                            Case No .
                                                                                    19CRJJ084WQH
             10
                                         Plaintiff,                    IND ' IC TM ENT
             11
                          v.                                           Title 8 , U. S . C .,
             12                                                        Sec. 1324 (a) (2) (B) (ii) -
                  AMERICA BELTRAN ,                                    Bringing in Aliens for Financial
             13                                                        Gain; Title 18, U. S.C., Sec. 2 -
                                         Defendant .                   Aiding and Abetting; Title 8 ,
             14                                                        U. S.C ., Sec . 1324 (a) (2) (B) (iii) -
                                                                       Bringing in Aliens Without
             15                                                        Presentation

             16          The grand jury charges :

             17                                                  Count 1

             18          On    or     about   July     2,     2019 ,   within      the    Southern                                     District       of

             19   California ,        defendant AMERICA BELTRAN ,          with the intent to violate the

             20   immigration laws of the United States , knowing and in reckless disregard

             21   of    the    fact    that   an    alien ,   namely ,    Magda     Martinez                   Guzman ,                        had   not

             22   received prior official authorization to come to ,                              enter and reside in

             23   the United States ,         did bring to the United States said alien for the

             24   purpose of commercial advantage and private financial gain ; in violation

             25   of Title 8 , Un ited States Code , Section 13 24 (a) (2) (B) (ii) , and Title 18 ,

             26   United States Code , Section 2 .

             27   II
             28   II

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